Case 1:20-cv-00293-MAC-ZJH   Document 44-2   Filed 08/14/20   Page 1 of 16 PageID
                                  #: 1174




                        EXHIBIT A
          Case 1:20-cv-00293-MAC-ZJH                                             Document 44-2                            Filed 08/14/20                        Page 2 of 16 PageID
                                                                                      #: 1175

             MEMoRANDUM                                             ٥F AGREEMENT                                                                           Norwegian Sh^pbrokers'
                                                                                                                                                          Memorandum  ol‫؟‬AgreementAssociation's
                                                                                                                                                                                    for sale and
                                                                                                                                                     purchase of ships. Adopted by BIMCO in 1956.
                                                                                                                                                                      Code-name

 ‫ﻟﺞ‬
                                                                                                                                                               SALEFORM 2012
                                                                                                                                                    Revised 1966, 1983 and 1986/87, 1993 and 2012
 8
‫ع‬
 g
|         Dated: ١        February 2019                                                                                                                                                                  1
0         Advantage Spring Shipping LLC {Name of sellers), hereinafter called the “Sellers", have agreed to sell, and 2
1         Fleetscape Spring, LLC-{Name of buyers), hereinafter called the “Buyers”, have agreed to buy:                                                                                                 3

‫ي‬         Name of vessel: m.v. “ADVANTAGE SPRING”                                                                                                                                                       4
‫؛‬         IMO Number: 9466582                                                                                                                                                                           5
J         Classification Society: DNV GL                                                                                                                                                                6
I         Class Notation: 1A1 Tanker for oil BIS BMON CSR E0 ESP NAV-0 SPM TMON VCS(2,B)                                                                                                                7
          Year of Build: 2010                     Builder/Yard: Rongsheug                                                                                                                               8
go        Flag: Marshall Islands Place of Registration: Majuro                                             GT/NT: 83,805/49,031                                                                         9


‫ﻩ‬
‫ؤ‬8

1
‫ج‬
          hereinafter called the "Vessel", on the following terms and conditions:

          Definitions (See also Additional Clause 23 (Further definitions)
          "Banking Days" are days on which banks a‫؛‬e Open both in the couHtry of the currency stipulated for
          the Purchase Price in Clause 1 (Purchase Price) and in the place of closing stipulated in Clause 8
                                                                                                                                                                                                         10
                                                                                                                                                                                                         11
                                                                                                                                                                                                         12
                                                                                                                                                                                                         13
‫ﺑﻼ‬        (DocumentationConditions Precedent) aftd-          --{-add-additional iurisdictions^s appropriate).                                                                                            14

          "Buyers’ Nominated Flag State” means Marshall Islands [state flag state).                                                                                                                      15
          “Class" means the class notation referred to above.                                                                                                                                            16
          "Classification Society" means the Society referred to above.                                                                                                                                  17

I ‫؛‬،                                                                                                                                                                                                     18
8         "Deposit Holder" means______ (state name and location of Deposit Holder) or, if left ■blank, the                                                                                              19
I         Sellers' Bank, which shall hold and release the Deposit in accordance with this Agreement.                                                                                                    20
          "In writing" or "written" means a letter handed over from the Sellers to the Buyers or vice versa, a                                                                                          21
‫ق‬
‫ﻟﺞ‬        registered letter, e-mail or telefax.                                                                                                                                                         22

          "Parties” means the Sellers and the Buyers.                                                                                                                                                   23

          "Purchase Price" means the price for the Vessel as stated in Clause 1 (Purchase Price).                                                                                                       24
      "Sellers' Account” means such account in the name of the Sellers [state details-of bank account) at the         25
  S Sellers’ Bank notified by the Sellers to the Buyers in writing at least five (5) Banking Days prior to the
  | intended Utilisation Date for the relevant Tranche (each as defined in the Senior Loan Agreement
      ٠
      referred to in Additional Clause 23 (Further definitions)).
     ٠-
      "Sellers’ Bank” means [ ] [state name of bank, branch and details) or, if left blank, the bank                  26
  y notified by the Sellers to the Buyers for receipt of the balance of the Purchase Price (less the Seller’s Credit) 27
  | [SH NOTE: ADVANTAGE TO CONFIRM].
  ‫ ؤ‬1. Purchase Price                                                                                                 28
‫ؤ‬٠
٠ ‫ج‬
            The Purchase Price is USD 30,825,000 Thirty Million, Eight Hundred and Twenty Five Thousand
            United States Dollars [state currency and amount both in words and figures).
                                                                                                                      29

I l 2. Deposit
lg                                                                                                                    30
Ml          As  security for the corfeGt-falfilment of this Agreement   the Buyers shall lodge a deposit of           31
< ‫?؛؛‬              .%4.          peReent)or, if left blank, 10% (tef^pef^eer^-of-the Purchase Price (the              32
If                                                                   I.                                               33
li          Banking Days after the date-that-:                                                                        34

11
Si
                              this Agreement has been signed by the Parties and exchanged in original or by
                               e-mail or telefax; and
                                                                                                                                                                                                        35
                                                                                                                                                                                                        36
11                            fhe- Depo&it-Holder-h-a& Gonftrffled lOA/vfiiing-to the PartiesTba^^e accoen-Phas-beee                                                                                    37
II                             opened.                                                                                                                                                                  38
si               The Deposit shall be released in accordance wit-h-joint-written instructions of the Parties.                                                                                           39
            This document is a computer generated SALEFORM 2012 form printed by authority of the Norwegian Shipbrokers Association. Any Insertion or deletion to the form must be dearly visible In the event of
            any modification made to the pre-pnnted text of this document which is not dearly visible, the text of the original approved document shall apply BIMCO and the Norwegian Shipbrokers' Association
            assume no responsibility for any loss, damage or expense as a result of discrepancies between the original approved document and this computer generated document
Case 1:20-cv-00293-MAC-ZJH                                                Document 44-2                           Filed 08/14/20                        Page 3 of 16 PageID
                                                                               #: 1176
                                                                                                                                                                                                 40
         Defx>si-t-shaH -be■borne equally by the Parties. The Parties-shaU provide to the-Deposit Holder                                                                                         41
         all necessary documentation to open ané maintain the account without delay.                                                                                                             42
3.                                                                                                                                                                                               43
         On delivery of foe Vessel, but aeUater than three (3) Banking Days after the date that Notice of                                                                                        44
         Readiaess-has been given in-aGGOf4aftGe with Clause 5 (-Tame-aad place of delivery and                                                                                                  45
         notices):                                                                                                                                                                               46

         Of            -the Deposit shall be released to-the Sellers: and                                                                                                                        47

         04      the balance of the-Purchase Price and all other-sums payable on detivefy-by the Buyers                                                                                          48
                to tdo-Sellers under this Agreement-shall·be paid in full free of bank charges to the                                                                                            49
                 Sellers' Account.                                                                                                                                                               50
         (Please see Additional Clause 21 (Payment))

4.                                                                                                                                                                                               51
         (a)* The Buyers have-inspected and accepted the Vessel's elassificatioo-reeords^-The Buyers                                                                                             52
         have-olso inspected the Vessel at/in         !.state placed on          (state-date) and have                                                                                           53
         accepted the Vessel-tollowing-thrs-fnspeGtion and the sale is outright and definite, subject only                                                                                       54
         to the terms and conditions of this Agreement:                                                                                                                                          55

         (b)* The Buyers shall dave the right to ■inspect the Vessel's classtfioatioo■records and declare                                                                                        56
         whether same-ore accepted or not within             (etatedatetpebod^                                                                                                                   57
         The Sellers shall make the Vessel available -for inspection at/in                                                           {-state-place/range) within                                 58
         ______ (state date/period).                                                                                                                                                             59

         The Buyers shall undertake-the inspection without undue delay to the-Vessel■.- ■Should the                                                                                              6٥
         Buyers cause undue delay they shall compensate-the Sellers ■for the losses thereby incurred.                                                                                            61

         The Buyers shall inspect the Vessel without-opening up and without cost to the Sellers.                                                                                                 62
         Dnhng-the inspection, the Vessel's deck and engine log books-shall-he mode available for                                                                                                63
         examination by the Buyers.                                                                                                                                                              64
         The saieohall4>e€Offle-eutnghPand-detinite,-subject only to the terms and conditions of this                                                                                            65
         Agreement, provided-that the-Sellers-recelve-wntten-notic-eof acceptance of the Vesset-trom-                                                                                            66
         the Buyers within seventy-two (72) hours after completion of such inspection or after the                                                                                               67
         date/last-day -ot the ■period stated in Line 59, whichever is earlier.                                                                                                                  68

         Should the Buyers fail to undertake the inspection as scheduled and/or notice of acceptance of                                                                                          69
         the-Vessel's classitioation-records-and/or-ohthe Vessel not-be received-by-the Sellers-as                                                                                               70
         aforesaid, the Deposit together with interest earned, if any, shaU be-feleased immediately to the                                                                                       71
         Buyers, whereafter this Agreement shall be null-and-void.-                                                                                                                              72

         *4(a) and 4(b) are alternatives; delete whichever is not applicable.--iR-t-he-a-bsence of deletions                                                                                     73
         alternative 4(a) shaft apply.                                                                                                                                                           74

5.       Time and place of delivery and notices                                                                                                                                                  75
         (a) The Vessel shall be delivered and taken over safely afloat at a safe and accessible berth or                                                                                        76
         anchorage at/in or at sea within Trading Limits (as defined in Additional Clause 23 (Further                                                                                            77
         definitions)) (state place/range) in the Sellers' option.
         Notice-of-Readinoss shall not be tendered before:         {date)                                                                                                                        78
         Cancelling Date (see Clauses 5(c), 6 (a)(i), 6 (a) (iii) and 1_4): the date falling three (3) months after the 79
         date of the Senior Loan Agreement or such later date as the Buyers may agree.
         (b) The Sellers shall keep the Buyers well informed of the Vessel's itinerary and shall                        80
         provide tbe-Buyer-s with twenty (20)T-ten (4Q),-                                                               81
                                                                                                                        82

                                                                                                                                                                                                 83
         this-Agreement, theSelleroshall givetbe Buyers awritten Noticeof Readtnessfor deliveryv                                                                                                 84

         (c) If the Sellers anticipate that, notwithstanding the exercise of due diligence by them, the                                                                                          85
         Vessel will not be ready for delivery by the Cancelling Date they may notify the Buyers in writing                                                                                      86
         stating the date when they anticipate that the Vessel will be ready for delivery and proposing a                                                                                        87
         new Cancelling Date. Upon receipt of such notification the Buyers shall have the option of                                                                                              88
         either cancelling this Agreement in accordance with Clause 14 (Sellers’ Default) within three (3)                                                                                       89
         Banking Days of receipt of the notice or of accepting the new date as the new Cancelling Date.                                                                                          90
         If the Buyers have not declared their option within three (3) Banking Days of receipt of the                                                                                            91
         Sellers’ notification or if the Buyers accept the new date, the date proposed in the Sellers'                                                                                           92
     This documenl is a computer generated SALEFORM 2012 form printed by authority of the Norwegian Shipbrokers Association. Any insertion or detetion to the form must be dearly visible In the event of
     any modification made to the pre-pnnted text of this document which is not clearly visible, the text of the original approved document shall apply BIMCO and the Norwegian Shipbrokers' Association
     assume no responsibility for any loss, damage or expense as a result of discrepancies between the original approved document and this computer generated document.
Case 1:20-cv-00293-MAC-ZJH                                             Document 44-2                            Filed 08/14/20                         Page 4 of 16 PageID
                                                                            #: 1177
      notification shall be deemed to be the new Cancelling Date and shall be substituted for the                                                                                           93
      Cancelling Date stipulated in line 79.                                                                                                                                                94
      If this Agreement is maintained with the new Cancelling Date all other terms and conditions                                                                                           95
      hereof including those contained in Clauses 5(b) and 5(d) shall remain unaltered and in full                                                                                          96
      force and effect.                                                                                                                                                                     97

      (d) Cancellation, failure to cancel or acceptance of the new Cancelling Date shall be entirely                                                                                        98
      without prejudice to any claim for damages the Buyers may have under Clause 14 (Sellers’                                                                                              99
      Default) for the Vessel not being ready by the original Cancelling Date.                                                                                                              100
      (e) Should the Vessel become an actual, constructive or compromised total loss before delivery                                                                                        101
      the Deposit together with interest earned; if-aoy■, shall be released immediately to the Buyers                                                                                       102
      whereafter this Agreement shall be null and void.                                                                                                                                     103

      PfversfnspeGtion /-D^ydocking                                                                                                                                                         104
      K                                                                                                                                                                                     105
      ‫ﺧﻤﺈ؛‬          The Buyers shall have the option at theif-eost-and expense to arrange for an underwater                                                                                 106
                    iospeGtfee-by-a-élver-apfifoved-by tbe Classifieation Society prior to the delivery of the                                                                              107
                    Vessel:-Sueh-option -sbati be -declar-ed latest nine (9) days prior to the Vesse^s-mtended                                                                              108
                    date of readiness for delivery as notified by the Sellers pufsuan-t to Clause 5(b) of this                                                                              109
                    Agreement.--The Sellers shall at their cost and expense make the Vessel available for                                                                                   110
                    such inspection. This Inspection shall be carried out without undue delay and -ln the                                                                                   111
                                                         ‫ي‬                                                                                                                                  112
                    the-Buyers: The-Buyers' representativefs) shall have thedght-to be present at the diver's                                                                               113
                    inspection as observeffs-)-enly without interfering with the-worki-decisions of the                                                                                     114
                    Classtf4G3iion Society &urvey;Qr---Tt-'>e-exte-n! ofle-tnspecti and ths-Gonditions-anbef                                                                                115
                                                                                                                                                                                            116
                    conditions at the placecMelivery are unsuitable for such inspection, the Sellers shall at                                                                               117
                    theiscost-and expense make the Vessel available-at-aseitable-alternative place near to                                                                                  118
                    the delivefy-portrln which event the Cancelling-Date shall be extended by the additional                                                                                119
                    time required for such positioning and the subsequent re-positioning. The-Sellers may                                                                                   120
                    not tender Notice of Readiness prior to completion of the-underwater inspection.                                                                                        121

      (4‫}؛‬                                                                                                                                                                                  122
                    found broken, damaged or defective so as-ts-a#ec4 the Vessel's class, then (1 ) unless                                                                                  123
                    repairs can be carried-out-afloatTsthe satisfaction of the Classification Society, the                                                                                  124
                    Sellers -shatl arrange for the Vesseko -be -dfyrkked at-their e-xpense (or inspection by                                                                                125
                    the Classification Society of-the-Vessel's underwater parts-bèw -the deepest load line,                                                                                 126
                    the extent of the inspection being in accordance with the Classification Society's rules (2)                                                                            127
                    siiGh-defeGtsshall-be-mJefQclby- the Sellers ahthelf cost-and-expense to#                                                                                               128
                                                                                                                                                                                            129
                    Sellers shall -payTor- the underwaier-iaspeotioo-aad-ibe-Glassifieatioa-SQGiety's                                                                                       130
                    attendance.                                                                                                                                                             131
                    Notwithstanding anything-to the contrary in this Agreement, if the Classification Society                                                                                132
                    do not require-the-aforementloned defects to be rectified beforo-the-next class                                                                                          133
                    drydocking survey, the Sellers shall be entitled to deliver the Vessel with these defects                                                                                134
                    against a deduction from the Purchase Price of the estimated direct cost (of labour and                                                                                  135
                    materials) of carrying out the repairs to the satisfaction of the Classification Society,                                                                                136
                    whereafter the Buyers-shall have no further rights whatsoever in respect of the-defects                                                                                  137
                    and/onaepairs. The estimated direct cost of the repairs shall be the average of quotes                                                                                   138
                    for the repaimwork-obtained from two reputable independent shipyards at or in the                                                                                        139
                    vicinity of the port of delivery, one to be obtained by each of the Parties within two (2)                                                                               140
                    Banking Days from the date of the imposition of the condition/recommendation, unless                                                                                     141
                                                                                                                                                                                             142
                     the stipulated time then the quote duly obtained by the other Party shall be the sole basis                                                                             143
                     for the estimate of the direct repair costs. The Sellers may-net-tender-Notice-of                                                                                       144
                     Readiness prior to such estimate having- been established.                                                                                                              145

      (44‫)؛‬-         If-the-Vessel is to-be-drydocked pufSuanbto-Clause-6(-a)(ii}-and no suitable drv-dockina                                                                                146
                    facilities are available at the port of delivery, the Sellers-shall take the Vessel to a port                                                                            147
                    where suitable drydocking facilities are available, whether within or ■outside the delivery                                                                              148
                    range as per Clause-bf-aK-Qnce drvdoGkinq has taken place the Sellers shall deliver the                                                                                  149
                                                                                                                                                                                             150
                                                aew-port of delivery. In such event the Cancelling Date shall                                                                                151
                     be extended-by the additional time required for the drydocking and-extfa-steaming,-but                                                                                  152
                     limited to a maximum of fourteen (14) days.                                                                                                                             153
                                                                                                                                                                                             154
  This ‫ﺀﻫﻪ‬:‫ي‬:mputer generated SALEFoRM 2012 foiïn printed by^aulhohlyofthe Norwegian Shipbrokers Association. Any insertion or deletion to the torn! must be c'earty Risible In the evgnt of
  any modification made to the prepnnled teirt of this document which IS not cleariy visible, the text of the original approved document shall appty BIMCO and the Norwegian Shipbrokers Associalion
  assume no responsibility for any loss, damage or expense as a result of discrepancies between the original approved document and tflis ramputer generated document.
Case 1:20-cv-00293-MAC-ZJH                                                Document 44-2                            Filed 08/14/20                        Page 5 of 16 PageID
                                                                               #: 1178
                                               IVufidefwater-parts-betew the deepest load line, the extent                                                                                        155
         of the■ inspection being in accordanGe-with the Classification Society's rules. If the rudder,                                                                                           156
         propeller, bottom of other-on^erwater parts below the deepest load line are found broken,                                                                                                157
         damaged or defective so as to affect the Vessel's class, such defects shall be made good at the                                                                                          158
         Sellers' cost and expense-to-the-satisfaction of the Classification Society without                                                                                                      159
         condition/recommendation**. In such event the Sellers are also to pay for the-costs ■and                                                                                                 160
         expenses- in connection with putting the Vessel in and taking her out of drydock·, including the                                                                                         161
         drydoek-dues and the Classifioation-SoGiety's fees. The Setlers-shall also pay for these costs                                                                                           162
         and expenses if parts of-the- tailshaft system are condemned or found defective or broken so as                                                                                          163
         to-affeot-the Vessel's class. In all other cases, the Buyers shall pay the aforesaid costs and                                                                                           164
         expenses, dues and fees.                                                                                                                                                                 165
         (g) If the Vessel rs drydooked pursuant-to-Glaose 6 (a)(ii) or 6 (b) above;                                                                                                              166

         (4            The Classification-Soc-iety-n^ay-regoire-survey of the tailshaft system, the extent of the                                                                                 167
                       survey being to the satisfaction of ■ the Glassification surveyor. If such survey is                                                                                       168
                       not required by the-Classrfioetion-Sooiety^the Buyers shall have-the optron to regulre-the                                                                                 169
                       tailshaft to be drawn and surveyed hy -the Classification Society, the extent of the survey                                                                                170
                       being in accordance-wUh-the Glassification Society's rules for tailshaft survey and                                                                                        171
                       consistent- with the current stage of the-Vessef's-survey cycle. The Buyers shall declare                                                                                  172
                       whether they require the tailshaft to be drawn and surveyed not later-than-by-the--                                                                                        173
                       Gompletioo-of-the-iospeGtion-by--the--Glassification Society. The drawing and refitting of                                                                                 174
                       the tailshaft shall-be-arranged-hy the Seilers. Should any parts of the tailshaft system be                                                                                175
                       condemned or found defective so as to affect the Vessel's class, those parts shall be                                                                                      176
                       renewed or made good at the Sellers' cost and expense to-the-satisfaction of                                                                                               177
                       Classification Society without condition/recommendation**.                                                                                                                 178
                       The costs and expenses relating to the survey of the tailshafi-system-ehall be borne by                                                                                    179
                       the Buyers unless the-Classification-Society-regoires-such survey to-be carried out or if                                                                                  180
                       parts of the system are condemned-or found defective or broken so as to affect the                                                                                         181
                       Vessel's class, in which case the Sellers shall pay these costs and expenses.                                                                                              182

         m             The Buyers’ representative(s) shall have the-right to be present in the drydock, as                                                                                        183
                       observer(s)-only without-interfehng with the work or decisions of the Classification-                                                                                      184
                       Society surveyor.                                                                                                                                                          185

         m            ^he Buyers shall have the right to-have-the-underwater parts of the Vessel cleaned                                                                                          186
                       and painted at their risk, cost and expense-wilhout-interfering with the Sellers' or the                                                                                   187
                       Classification Society surveyor's work, if any, and-without ■affecting the Vessel's timely                                                                                 188
                       delivery. If, however, the Buyers' work-ln-drydockGs-stHI-in-progress■ ■when the                                                                                           189
                       Sellers -have completed -the-work which the Sellers-are-required to do, the additional                                                                                     190
                       docking time needed to complete the Buyers' work shall befor-the-Buyers' risk, cost and                                                                                    191
                       expense. In the event that the -Buyers’ work requires such additional time, the-Sellers                                                                                    192
                                                                                                                                                                                                  193
                       the Vessel is still in drydock and, notwithstanding Clause 5(a), the Buyers shall be                                                                                       194
                       obliged to take delivery in accordance with Clause 3 (Payment), whether the Vessel is in                                                                                   195
                       drydock or not.·                                                                                                                                                           196
         *6 (a) and 6 (b) are alternatives; delete wkichever ¡s ROi-applicable. In the absence of d&letions,                                                                                      197
         alternative 6 {a) shall apply.                                                                                                                                                           198

          **Notes or memoranda, if-any-.-m-the snrveyor's-report which are accepted by the Classification                                                                                          199
                                                                                                                                                                                                  200
7.       Spares, bunkers and other items                                                                                                                                                          201
         The Sellers shall deliver the Vessel to the Buyers with everything belonging to her on board                                                                                             202
         and on shore. All spare parts and spare equipment including spare tail-end shaft(s) and/or                                                                                               203
         spare propeller(s)/propeller blade(s),                                                                                                                                                   204
         used or unused,                                                                                                                                                                          205
                               Forwarding charges, if any, shall be for the Buyers' account. The Sellers                                                                                          206
         are not required to replace spare parts including spare tail-end shaft(s) and spare                                                                                                      207
         propeller(s)/propeller blade(s) which are taken out of spare and used as replacement prior to                                                                                            208
         delivery, but the replaced items shall be the property of the Buyers. Unused stores and                                                                                                  209
         provisions shall be included in the sale and be taken over by the Buyers without extra payment.                                                                                          210
         Library and forms-axclusively for use in the Sellers' vessel(s) and captain's, officers' and crew's                                                                                      211
         personal belongings including the slop chest are excluded from the saie-without compensation,                                                                                            212
         as well as the following additional itemsi .      {inoh-tée list)                                                                                                                        213

         The items listed in the Schedule to the Additional Clauses are excluded from the sale without                                                                                            214

     This document is a computer generated SALEFORM 2012 form printed by authority of the Norwegian Shipbrokers Association. Any insertion or deletion to the form must be clearly visible In the event of
     any modification made to the pre-printed text of this document which is not dearly visible, the text of the original approved document shall apply BIMCO and the Norwegian Shipbrokers Association
     assume no responsibility for any loss, damage or expense as a result of discrepancies between the original approved document and this computer generated document
Case 1:20-cv-00293-MAC-ZJH                                                Document 44-2                            Filed 08/14/20                        Page 6 of 16 PageID
                                                                               #: 1179
         compensation.

                                                                                                             s, listed as follows, are excluded-froro
         the sale without compensation:                                       (include list)                                                                                                      215

         Items on board at the time of inspection delivery which are on hire or owned by third parties, not listed                                                                                216
         above, shall be replaced or procured by the Sellers prior to delivery at their cost and expense.                                                                                         217

         Any remaining and unused lubricating and hydraulic oils and greases in storage tanks and                                                                                                 218
         unopened drums shall remain the property of the Sellers. All bunkers and fuel oil onboard are
         and shall remain the property of the Sub-Charterers and shall not form part of the sale.

         T-he-6u-yefs-stoiUake-over--rerrya-HWi§- bunker^an4-uncse44ytocating -a-n4-hy4fau4G-Qiis an4
         greases in storage tacks-aad-unopeaed-drums and pay either:■                                                                                                                             219
         (a) *the actual net price (excluding barging expenses) as evidenced by invoiees-oevoochers-i-or                                                                                          220
         (b) -*the current net■ market price (excluding barging expenses) at the port and date of delivery                                                                                        221
                                                                                                                                                                                                  222
         for-the guantitles taken over­                                                                                                                                                           223
         payment under this Clause shall be made at the-same-time-aad place-and in the same                                                                                                       224
         Gcrrenc^asthe-PurchaseRricer                                                                                                                                                             225

         "inspection" in this Clause 7, shall mean-the Buyers' inspection acGordiae-tQ-Giause 4(a) or 4(b)                                                                                        226
                                                                                                                                                                                                  227
         Agreement shall be the relevant date.                                                                                                                                                    228

         -(■a)-and- (b) are altefnatives, delete whichevef4s-not-applicable. In the absence of-deletions                                                                                          229
         alternative (a) shall apply.                                                                                                                                                             230
8.       DocumentatioeConditions Precedent                                                                                                                                                        231
         The place of closing: London                                                                                                                                                             232
         (a) In-exchange-for-Ppayment of the Purchase Price (less the Seller’s Credit) is conditional upon the 233
         Sellers shaikprovidinge the Buyers with the
         following delivery documents:                                                                         234
         (‫)؛‬           Legal Bill(s) of Sale in a form recordable in the Buyers’ Nominated Flag State,                                                                                            235
                       transferring title of the Vessel and stating that the Vessel is free from all mortgages,                                                                                   236
                       encumbrances and maritime liens or any other debts whatsoever, duly notarially attested                                                                                    237
                       and legalised or apostilled, as required by the Buyers’ Nominated Flag State;                                                                                              238

         (¡O           Evidence that all necessary corporate, shareholder and other action has been taken by                                                                                      239
                       the Sellers to authorise the execution, delivery and performance of this Agreement;                                                                                        240
         (iii)          Power of Attorney of the Sellers appointing one or more representatives to act on behalf                                                                                  241
                        of the Sellers in the performance of this Agreement, duly notarially attested and legalised                                                                               242
                        or apostilled (as appropriate);                                                                                                                                           243

         (iv)          Certificate or Transcript of Registry issued by the competent authorities of the flag state                                                                                244
                       on the date of delivery evidencing the Sellers' ownership of the Vessel and that the                                                                                       245
                       Vessel is free from registered encumbrances and mortgages, to be faxed or e-mailed by                                                                                      246
                       such authority to the closing meeting with the original to be sent to the Buyers as soon as                                                                                247
                       possible after delivery of the Vessel;                                                                                                                                     248
         (٧)            Declaration of Class or (depending on the Classification Society) a Class Maintenance                                                                                     249
                        Certificate issued within three (3) Banking Days prior to delivery confirming that the                                                                                    250
                        Vessel is in Class free of condition/recommendation;                                                                                                                      251

         (V f  ٠       -CertffiGate-of-Deletion-of the Vessel from the Vessel's registry or other official evidence of
                       deletion-appropriate to the Vessel's-registry at the time of delivery, or, in the event that
                                                                                                                                                                                                  252
                                                                                                                                                                                                  253
                        the registry does not as a matter of practice issue such documentation immediately, a                                                                                     254
                       written undertaking by the Sellers to effect deletion from the Vessel's registry-forth-with                                                                                255
                       and provide a certificate or other official evidence ofdeietion to-tbe-Buyers-promptly and                                                                                 256
                        latest within four (4) weeks after the Purchase Price has been paid and the Vessel has                                                                                    257
                        been delivered;                                                                                                                                                           258
                       -A-copy of-the-Vessel's Continuous Synopsis Record certifying the date on which the                                                                                        259
                        Vessel ceased to be registered with the Vessel's registry, or, in the event that the registry                                                                             260
                        does not as a matter of practice issue-such-certificate immediately, a written undertaking                                                                                261
                        from the Sellers to provide the copy of this certificate promptly upon it being issued                                                                                    262
     This document is a computer generated SALEFORM 2012 form printed by authority of the Norwegian Shipbrohers Association. Any insertion or deletion to the form must be clearly visible In the event of
     any modification made to the pre-printed text of tills document which is not clearly visible, die text of the original approved document shall apply BIMCO and the Norwegian Shipbrokers Association
     assume no responsibility for any loss, damage or expense as a result of discrepancies between the original approved document and this computer generated docum ent
Case 1:20-cv-00293-MAC-ZJH                                             Document 44-2                            Filed 08/14/20                         Page 7 of 16 PageID
                                                                            #: 1180
                                                                                                                                   X'                                                      263
                    the date on which the Vessei-shall-€ease to be registered with the ■Vessel's registry;                                                                                 264

      (viUvi)          Commercial Invoice for the Vessel;                                                                                                                                  265

      m             Commercial tnyoiGe(s)-fQf bunkers, tubricating-aod hydraulic oils and greases;                                                                                         266

      (4           -A-GOfiy-of-the Sellers’ letter to their satellite communication provider cancelling the                                                                                267
                    Vessel's communications contract which is to ke sent immeettatefy--a-fter-delivery of the                                                                              268
                                                                                                                                                                                           269

      (viixf)      Any additional documents as may reasonably be required by the competent authorities of     270
                the Buyers' Nominated Flag State for the purpose of registering the Vessel, provided the      271
                Buyers notify the Sellers of any such documents as soon as possible after the date of         272
                this Agreement but in any event not later than fifteen (15) Banking Dates prior to the 273
                proposed Delivery Date; ané
      (xtiviii)    The Sellers’ letter of confirmation that to the best of their knowledge, the Vessel is not 274
                black listed by any nation or international organisation^                                     275

      (¡X)          The Seller's Credit Agreement duly signed by the Sellers;

      (x)          A certificate from a director / officer of the Sellers confirming that all copies of
                   documents provided under this Agreement are true copies of such documents; and

      (xi)          The Buyers being satisfied that, in their opinion, the conditions precedent set out in the
                    Bareboat Charter have been satisfied on the Delivery Date.

      The conditions set out in this Clause 8(a) are for the sole benefit of the Buyers and may be
      waived or deferred by the Buyers in whole or in part and with or without conditions. The
      foregoing is without prejudice to the Buyers’ rights to require fulfilment of any such conditions
      by the Sellers in whole or in part at any time after the date of payment or release of the Purchase
      Price (less the Seller’s Credit).

      (b) At the time of delivery the Buyers shall provide the Sellers with:                                                                                                               276
      (¡)           Evidence that all necessary corporate, shareholder and other action has been taken by                                                                                  277
                    the Buyers to authorise the execution, delivery and performance of this Agreement; an4                                                                                 278
      (Ü)           Power of Attorney of the Buyers appointing one or more representatives to act on behalf                                                                                279
                    of the Buyers in the performance of this Agreement, duly notarially attested and legalised                                                                             280
                    or apostilled (as appropriate);‫؟‬                                                                                                                                       281

      (‫)؛؛؛‬         The Seller’s Credit Agreement duly signed by the Buyers; and

      (‫؛‬٧)            Provided that, in the Buyers’ opinion, Clause 8(a)(xi) above has been satisfied at the
                     time of delivery, written confirmation from the Buyers addressed to the Sellers that the
                      conditions precedent set out in the Bareboat Charter have been satisfied on the Delivery
                     Date.

      (c) If any of the documents listed in Sub-clauses (a) and (b) above are not in the English                                                                                           282
      language they shall be accompanied by an English translation by an authorised translator or                                                                                          283
      certified by a lawyer qualified to practice in the country of the translated language.                                                                                               284
      (d) The Parties shall to the extent possible exchange copies, drafts or samples of the                                                                                               285
      documents listed in Sub-clause (a) and Sub-clause (b) above for review and comment by the                                                                                            286
      other party not later than         {state number of days), or if left blank, nine (9) days prior to the                                                                              287
      Vessel's intended date of readiness for delivery as notified by the Sellers pursuant to                                                                                              288
      Clause 5(b) of this Agreement.                                                                                                                                                       289

      (e) Concurrent with the exchange of documents in Sub-clause (a) and Sub-clause (b) above         29٥
      the Sellers shall also hand to the Buyers shall gain title and ownership to the classification 291
      certificate(s) as well as all plans,
      drawings and manuals-which are on board the Vessel and shall 292
      remain on board the Vessel. Other
      certificates which are on board the Vessel shall also be handed over to the Buyers unless        293
      the Sellers are required to retain same, in which case the Buyers have the right to take copies. 294

       (f) Other technical documentation which may be in the Sellers' possession shall promptly after                                                                                      295
       delivery be fonarded to the Buyers at their expense, if they so request. The Sellers may keep                                                                                       296

  This ‫ي‬0<:‫ﻻ‬:‫ ة|ا‬a computergeneraiEd SALEFORM 20١2fo: printed by aulhonly of ths NoTOegi^n Shipbrokers Association. Anyinsedion or ‫؛‬elelion to trie tomi mustbe ‫؛‬early wsibte tn the eventot
  any modification made to the preprinted text of tills document which is not cleariy visible the text of the ordinal approved document shatt apply BIMCO and the Norwegian Shipbrokers Association
  assume no responsibitity for any toss, damage or expense as a result of discrepancies between the Original approved ttocument and this computer generated document.
Case 1:20-cv-00293-MAC-ZJH                                                Document 44-2                            Filed 08/14/20                        Page 8 of 16 PageID
                                                                               #: 1181
         the Vessel's log books but the Buyers have the right to take copies of same.                                                                                                             297

         (g) The Parties shall sign and deliver to each other a Protocol of Delivery and Acceptance                                                                                               298
         confirming the date and time of delivery of the Vessel from the Sellers to the Buyers.                                                                                                   299
9.       Encumbrances                                                                                            300
         The Sellers warrant that the Vessel, at the time of delivery, is free from all charters (other than the 301
         Bareboat Charter and the Sub-Charter),
         encumbrances, mortgages and maritime liens or any other debts whatsoever, and is not subject            302
         to Port State or other administrative detentions. The Sellers hereby undertake to indemnify the         303
         Buyers against all consequences of claims made against the Vessel which have been incurred              304
         prior to the time of delivery.                                                                          305

10.      Taxes, fees and expenses                                                                                                                                                                 306
         Any taxes, fees and expenses in connection with the purchase and registration in the Buyers'                                                                                             307
         Nominated Flag State shall be for the Buyers1 Sellers’ account, whereas similar charges in connection                                                                                    308
         with the closing of the Sellers' register shall be for the Sellers' account.                                                                                                             309

11.      Condition on delivery                                                                                   310
         The Vessel with everything belonging to her shall be at the Sellers' risk and expense until she is      311
         delivered to the Buyers, but subject to the terms and conditions of this Agreement she shall be         312
         delivered and taken over “as                    where is” at the time of inspection, fair wear and tear 313
         exeepteefdelivery.
         However, the Vessel shall be delivered free of cargo and free of stowaways with her Class               314
         maintained without condition/recommendation*, free of average damage affecting the Vessel's             315
         class, and with her classification certificates and national certificates, as well as all other         316
         certificates the Vessel had at the time of inspectiondelivery, valid and unextended without             317
         condition/recommendation* by the Classification Society or the relevant authorities at the time         318
         of delivery.                                                                                            319
         "inspection" in this Clause 11 .--si                                                                                                                                                     320
         4(b) (Inspections), if applicable. If the Vessel is taken-over without inspection■ the date of this                                                                                      321
         Agreement shall be the relevant date.                                                                                                                                                    322
         See also Additional Clause 20 (Delivery under Bareboat Charter)

         *Notes and memoranda, if any, in the surveyor's report which are accepted by the Classification                                                                                          323
         Society without condition/recommendation are not to be taken into account.                                                                                                               324
42,                                                                                                                                                                                               325
                                                                                                                                                                                                  326
         markings.-                                                                                                                                                                               327

13.      Buyers'default                                                                                                                                                                           328
         Should the Deposit not be lodged in accordance with-Giaose-2 (DepositMhe Sellers have-the                                                                                                329
         right to cancel this Agreement-, and they shall be entitled to cl aim-eompeasatioa ■for ■their losses                                                                                    330
                                                                                                                                                                                                  331

         Should the Purchase Price (less the Seller’s Credit) not be paid in accordance with Clause 821 332
         (Payment), the Sellers
         have the right to cancel this Agreements in-whieh case ■the ■Deposit together with interest      333
         eamedr-if -any7-shati-be released to the Sellers. If the Deposit does-noTcover their loss, the   334
         Sellers-shatl-be ent+tied-to-Gla^ffi-fur-thor-GOu^pen-satrQoToutherr-iosses-anrhfo^atl-expervses 335
         incurred together with interest.                                                                 336
14.      Sellers' default                                                                                                                                                                         337
         Should the Sellers faif-to oive-Nofee-of-Readiness in accordance with Clause 5(b) or fail to be                                                                                          338
         ready to validly complete a legal transfer by the Cancelling Date the Buyers shall have the                                                                                              339
         option of cancelling this Agreement. If after Notice of Readiness has been given but before                                                                                              340
         the Buyers have taken delivery, the Vessel ceases to-be-physioatly ready-for deiivery and is not                                                                                         341
                                                                                                                                                                                                  342
         Buyers shall retain thet^optiofì-to caocol:-In ■the event that-the Buyers elect ■to cancel this                                                                                          343
         Agreement, the Deposit together with interest earnedrif-aoy,-shatl be released to them                                                                                                   344
         immediately.                                                                                                                                                                             345
         Should the Sellers fail to give Notice of Readiness by the Cancelling Date or fail to be ready to                                                                                        346
         validly complete a legal transfer as aforesaid they shall make due compensation to the Buyers                                                                                            347
         for their loss and for all expenses together with interest if their failure is due to proven                                                                                             348
         negligence and whether or not the Buyers cancel this Agreement.                                                                                                                          349

15.      Buyers'representatives                                                                                                                                                                   350
         After this Agreement has been signed by the Parties and the Deposit has been lodged, the                                                                                                 351
     This documenl is a computer generated SALEFORM 2012 form printed by authortty of the Norwegian Shipbrokers Association. Any insertion or deletion to the form must be clearty visible In the event of
     any modification made to the pre-pnnted tent of tills document which is not dearly visible, the text of the original approved document shall apply BIMCO and the Norwegian Shipbrokers Association
     assume no responsibility for any loss, damage or expense as a result of discrepancies between the onginal approved document and this computer generated document
Case 1:20-cv-00293-MAC-ZJH                                             Document 44-2                            Filed 08/14/20                        Page 9 of 16 PageID
                                                                            #: 1182
                                                                                                                                                                                               352
      expense.                                                                                                                                                                                 353

      These representati-ves-are on board foMhe purpose of familiarisation and in the capacity of                                                                                              354
      observers only, and they shall not interfere in any respect-witMhe-operation of the Vessel. The                                                                                          355
      Buyers and the Buyers' representatives shall sign (he Sellers' P&l Ctub's standard letter of                                                                                             356
      indemnity■ phor -to theipembarkation.                                                                                                                                                    357

16.   Law and Arbitration                                                                                                                                                                      358
      (a) *This Agreement shall be governed by and construed in accordance with English law and                                                                                                359
      any dispute arising out of or in connection with this Agreement shall be referred to arbitration in                                                                                      360
      London in accordance with the Arbitration Act 1996 or any statutory modification or re­                                                                                                  361
      enactment thereof save to the extent necessary to give effect to the provisions of this Clause.                                                                                          362

      The arbitration shall be conducted in accordance with the London Maritime Arbitrators                                                                                                    363
      Association (LMAA) Terms current at the time when the arbitration proceedings are                                                                                                        364
      commenced.                                                                                                                                                                               365

      The reference shall be to three arbitrators. A party wishing to refer a dispute to arbitration shall                                                                                     366
      appoint its arbitrator and send notice of such appointment in writing to the other party requiring                                                                                       367
      the other party to appoint its own arbitrator within fourteen (14) calendar days of that notice and                                                                                      368
      stating that it will appoint its arbitrator as sole arbitrator unless the other party appoints its own                                                                                   369
      arbitrator and gives notice that it has done so within the fourteen (14) days specified. If the                                                                                          370
      other party does not appoint its own arbitrator and give notice that it has done so within the                                                                                           371
      fourteen (14) days specified, the party referring a dispute to arbitration may, without the                                                                                              372
      requirement of any further prior notice to the other party, appoint its arbitrator as sole arbitrator                                                                                    373
      and shall advise the other party accordingly. The award of a sole arbitrator shall be binding on                                                                                         374
      both Parties as if the sole arbitrator had been appointed by agreement.                                                                                                                  375
      In cases where neither the claim nor any counterclaim exceeds the sum of USS100,000 the                                                                                                  376
      arbitration shall be conducted in accordance with the LMAA Small Claims Procedure current at                                                                                             377
      the time when the arbitration proceedings are commenced.                                                                                                                                 378

      (b) *This Agreement shall be govemed-by-and-constfyed-4n-accordance with Title 9 of the                                                                                                  379
      United States Code and the substantive law (not including the choice of law rules) of the State                                                                                          380
                                                                                                                                                                                               381
      referred to three (3) persons-at-New York, one to be-appeinted-by each of the parties hereto,                                                                                            382
      and the third by the two so chosen; their decision or that of any two of them shall be final, and                                                                                        383
                                                                           -on -an award--by ■arvy court of                                                                                    384
      competent jurisdfotion^The proceedings shall be conducted in accordance with the rules of the                                                                                            385
      Society oLMaritime Arbitrators, Inc.                                                                                                                                                     386
      In cases where neither the claim nor any counterclaim-exceeds-the-sum of USS 100,000 the                                                                                                 387
      arbitr-ation-shall-be-oonduoted-in-accordance with the Shortened Arbitration Procedure of the                                                                                            388
      Society of Maritime Arbitrators-,-Incy                                                                                                                                                   389

      (c)--Thfs-Agreement shall-be■governed by-and construed In accordance with the laws of______                                                                                              390
      (state place) and any dispute aristag oet-of or-in connection with-this Agreement shall be                                                                                               391
      referred to arbitration at       (state place), subject to the procedures applicable there.                                                                                              392

      "16(a), 16{b) an4-16(g) are alternatives; delete whichever is not applicable. In the absence of                                                                                          393
      deletions, -alternative 16(a) ■sbali appty■.-                                                                                                                                            394
17.   Notices                                                                                                                                                                                  395
      All notices to be provided under this Agreement shall be in writing.                                                                                                                     396
      Contact details for recipients of notices are as follows:                                                                                                                                397

      For the Buyers:                                                                                                                                                                          398
      c/o Oaktree Capital Management, L.P.
      333 South Grand Avenue
      Los Angeles
      CA 90071
      United States of America

      with a copy to:

      Oaktree Capital Management (Europe) LLP of Verde
      10 Bressenden Place
      London
      England
  This document is a computer generated SALEFORM 2012 form printed by authority of the Norwegian Shipbrokers' Association. Any insertion or deletion to the form must be dearty visible In the event of
  any modification made to the pre-printed text of this document which is not clearly visible, the text of the original approved document shall apply BIMCO and the Norwegian Shipbrokers' Association
  assume no responsibility for any loss damage or expense as a result of discrepancies between the original approved document and this computer generated document.
Case 1:20-cv-00293-MAC-ZJH                                            Document 44-2                           Filed 08/14/20                         Page 10 of 16 PageID
                                                                            #: 1183
      SWIESDH

      Email:
                                              ‫ا‬
      info@fleetscape.com accounting@fleetscape.com )baker@fleetscape.com

      For the Sellers:
                                                                                                      ‫ا‬                                                                                       399
      levent Mah.
      Comert Sokak
      YKB Plaza A Blok K. 18
      34330 Levent
      Istanbul
      Turkey
      Fax: +90 212 325 5814

18.   Entire Agreement                                                                                                                                                                        409
      The written terms of this Agreement comprise the entire agreement between the Buyers and                                                                                                401
      the Sellers in relation to the sale and purchase of the Vessel and supersede all previous                                                                                               402
      agreements whether oral or written between the Parties in relation thereto.                                                                                                             403

      Each of the Parties acknowledges that in entering into this Agreement it has not relied on and                                                                                          404
      shall have no right or remedy in respect of any statement, representation, assurance or                                                                                                 405
      warranty (whether or not made negligently) other than as is expressly set out in this Agreement.                                                                                        406

      Any terms implied into this Agreement by any applicable statute or law are hereby excluded to                                                                                           407
      the extent that such exclusion can legally be made. Nothing in this Clause shall limit or exclude                                                                                       408
      any liability for fraud.                                                                                                                                                                409



             m
           M-V
      For and on behalf of the Sellers                                                           For and on behalf of the Buyers
      Adw^ntape Spring Shipping LLC                                                              Fleetscape Spring, LLC
                                                                                                 Name:

      Title: MorfXtU]                               Çad                                         Title:                  Jennifer Ashford
                                                                                                                        Attorney in fact




  This document is a computer generated SALEFOKM 2012 form prrnted by authonty of the Norwegian Shipbrokers Association. Any insertion or deletion to the form must be clearly visible In the event of
  any modification made to the pre-printed text of this document which is not cleariy visible, the text of the original approved document shall apply BlMCO and the Norwegian Shipbrokers
  assume no responsibility for any loss, damage or expense as a result of discrepancies between the original approved document and this computer generated document
Case 1:20-cv-00293-MAC-ZJH              Document 44-2         Filed 08/14/20       Page 11 of 16 PageID
                                              #: 1184



                                   ADDITIONAL CLAUSES
                            TO MEMORANDUM OF AGREEMENT FOR
                                 m.v. "ADVANTAGE SPRING"

   19.     Sellers' representation
           The Sellers represent and warrant as at the date hereof and on the Delivery Date that:

           (a)      they are the registered legal owners of the Vessel;
           (b)      they are not a Prohibited Person; and

           (٠)     neither themselves nor any of their directors, officers or employees or any person
                   acting on their behalf has received notice or are aware of any claim, action, suit,
                   proceeding or investigation against any of them or the Vessel with respect to
                   Sanctions by a Sanctions Authority.

   20.     Delivery under Bareboat Charter

           (a)     Immediately after the delivery of the Vessel under this Agreement, the Vessel shall
                   be delivered to the Sellers as charterers pursuant a bareboat charterparty dated on
                   or about the date of this Agreement (the ,'Bareboat Charter") made or to be made
                   (as the case may be) between the Buyers (as owners) and the Sellers (as charterers).
           (b)      The Sellers shall be fully responsible for the Buyers' fulfilment of physical delivery
                    as new owner of the Vessel to the Sellers (as charterers) under the Bareboat
                    Charter. The Buyers' obligation to take delivery of the Vessel under this Agreement
                    is subject to the Sellers (as charterers) taking delivery of the Vessel immediately
                    thereafter under the Bareboat Charter. Without prejudice to the foregoing, the
                    Sellers' obligation to deliver the Vessel under this Agreement is subject to the
                    Buyers delivering the same under the Bareboat Charter immediately after taking
                    delivery of the Vessel under this Agreement.
           (c)      If the Bareboat Charter is cancelled, terminated or otherwise ceases to be in full
                    force and effect prior to the delivery of the Vessel under this Agreement or the
                    delivery of the Vessel does not take place under the Bareboat Charter by the
                    Cancelling Date, this Agreement shall be null and void, provided however that (i)
                    Clause 13 (Buyers' default) shall survive and entitle the Sellers to compensation for
                    its losses and expenses due to the default of the Buyers and (ii) Clause 14 (Sellers1
                    default) shall survive and entitle the Buyers to compensation for its losses and
                    expenses due to the default of the Sellers.
   21.     Payment

           (a)      The Sellers and the Buyers agree that the Purchase Price less the Seller's Credit
                    shall be paid by the Buyers free of bank charges, any deduction Taxes or
                    withholding whatsoever as follows:
                            (A)     if agreed by the Sellers' Bank, the Redemption Amount shall be
                                    transferred to the bank account of the Senior Agent's lawyers on or
                                    before two (2) Banking Days prior to the Delivery Date (the
                                    "Prepositioning Date") provided that on or before the
                                    Prepositioning Date the Senior Agent's lawyers shall issue a letter


   LONLIVE\35125192.2                                                                              Page I
Case 1:20-cv-00293-MAC-ZJH                  Document 44-2      Filed 08/14/20      Page 12 of 16 PageID
                                                  #: 1185


                                   of undertaking to the Buyers, the Senior Agent and the Sellers'
                                   Bank in a format acceptable to the Buyers and the Sellers setting
                                   out the basis on which the Senior Agent's lawyers shall hold and
                                   release the Redemption Amount, and the Redemption Amount
                                   shall be so released to the Sellers' Bank with value date as of the
                                   Delivery Date and if such manner is not agreed by the Sellers' Bank,
                                   in such other manner as may be agreed between the Buyers and the
                                   Sellers; and

                           (B)     on the Delivery Date any Surplus Cash shall be retained by the
                                   Sellers, the Guarantor or one or more of the Related Owners.

           (b)      the Buyers' obligation to pay the Purchase Price is always subject to the Buyers
                    being satisfied that:

                           (A)     the conditions precedent required under Clause 8 (Conditions
                                   Precedent) (other than the conditions precedent required under
                                   paragraphs (a)(i), (a)(iv), (a)(v), (a)(vi), and (a)(x) of Clause 8
                                   (Conditions Precedent), together the "Delivery Date CPs") have
                                   been received by the Buyers;

                           (B)     the Delivery Date CPs will be received on or before the Delivery
                                   Date;

                           (C)     the conditions precedent listed in Schedule 2, Part A, Part B and
                                   Part C of the Senior Loan Agreement have been satisfied or will be
                                   satisfied on or before the Delivery Date; and

                           (D)      the Buyers have received:

                                    (‫)؛‬       the Redemption Statement;

                                    (‫)؛؛‬      such evidence as the Buyers may require that the
                                              Advantage Group has or will have cash reserves of at least
                                              US$13,000,000 on the later of (a) the Delivery Date of the
                                              Vessel and (b) the date of delivery of the final Related
                                              Vessel to be delivered under a Related MOA;

                                    (iii)     a certificate duly signed by the chief executive officer or
                                              chief financial officer of the Sellers attaching:

                                              (l)    the unaudited financial statements of the Sellers
                                                     and the unaudited consolidated financial
                                                     statements of the Guarantor for the financial
                                                     quarter ended 30 September 2018;

                                              (2)    a statement of the cash position of the Sellers; and

                                              (3)    such other financial information in relation to the
                                                     Sellers or the Guarantor as the Buyers may
                                                     reasonably request.

           (٠)      The Sellers agree to release, discharge, defend, indemnify, waive and hold
                    harmless the Buyers from and against any liability, obligation or claim which may
                    be asserted, claimed or recovered against the Buyers for any reason directly arising
                    out of or in any manner connected with the release or the failure to release (as the

   LONLIVE\3 5125192.2                                                                             Page 2
Case 1:20-cv-00293-MAC-ZJH               Document 44-2         Filed 08/14/20       Page 13 of 16 PageID
                                               #: 1186


                    case may be) of the Redemption Amount by the Sellers' Bank (as provided for in
                    paragraph (a) above) except if the same solely results from or is a direct
                    consequence of the Buyers' failure to perform their obligations under or in breach
                    of any provisions under this Agreement or the Bareboat Charter.

           (٥)      If for any reason any part of the Redemption Amount paid to the Sellers' Bank by
                    the Buyers is neither released in accordance with paragraph (b) above nor returned
                    to the Buyers or (as the case may be) an Agent within five (5) Banking Days after
                    the Cancelling Date, the Sellers shall refund to the Buyers or (as the case may be)
                    an Agent that part of the Redemption Amount within six (6) Banking Days after the
                    Cancelling Date.

  22.      Further definitions

  22.1     In this Agreement:

           "Delivery Date" means the date of delivery of the Vessel by the Sellers to the Buyers
           pursuant to this Agreement.

           "Prohibited Person" means any person or entity, whether or not having a separate legal
           personality (a "Person"), whether designated by name or by reason of being included in a
           class of persons, that is, or that is owned or controlled by Persons that are or any vessel that
           is:

            (a)      listed on, or directly or indirectly owned or controlled by a Person listed on, a
                     Sanctions List, or a person acting on behalf of such a Person;

            (b)      located or resident in, incorporated or organised under the laws of, or owned or
                     (directly or indirectly) controlled by, or acting on behalf of, a Person located or
                     resident in a country or territory that is or whose government is the subject of
                     Sanctions, broadly prohibiting dealings with such government, country or territory
                     including country or territory wide Sanctions and in each case thereby itself
                     becomes the target of such Sanctions;

            (٠)      otherwise a target of Sanctions ("target of Sanctions", for the purpose of this
                     paragraph (c), amongst other things, signifying a Person with whom a US Person
                     or other national of a Sanctions Authority would be prohibited or restricted by law
                      from engaging in trade, business or other activities or against whom Sanctions are
                     otherwise directed); or

            (d)      acting our purporting to act on behalf of any of the Persons listed in paragraphs (a)
                     to (c) above with which any Finance Party is prohibited from (i) dealing or (ii)
                     otherwise engaging in any transaction pursuant to Sanctions.

            "Redemption Amount" means the amount owing by the Sellers to the Sellers' Bank in
            respect of the existing financing of the Vessel.

            "Redemption Statement" means a statement issued by the Sellers' Bank to the Sellers
            evidencing the Redemption Amount or such other evidence of the Redemption Amount as
            is acceptable to the Buyers and the Agents (acting on the instructions of the relevant
            Lenders under the relevant Finance Documents) (acting reasonably).




   LONLIVE\3 5125192.2                                                                               Page3
Case 1:20-cv-00293-MAC-ZJH            Document 44-2         Filed 08/14/20       Page 14 of 16 PageID
                                            #: 1187


           "Sanctions" means any trade, economic or financial sanctions, laws, regulations,
           embargoes, freezing provisions, prohibitions or other restrictive measures imposed,
           administered, enacted or enforced from time to time by any Sanctions Authority.

           "Sanctions Authority" means the US, including without limitation the Office of Foreign
           Assets Control of the U.S. Department of the Treasury, the U.S. Department of State, the
           U.S. Department of Commerce, the United Nations Security Council, the European Union
           or any of its member states, including without limitation the Federal Republic of Germany,
           including without limitation the German Bundesbank, Federal Ministry of Economics and
           Energy (Bundesministerium fiir Wirtschaft und Energie), the United Kingdom, including
           Her Majesty’s Treasury of the United Kingdom, Switzerland, including without limitation
           the State Secretariat for Economic Affairs of Switzerland (SECO) or the Swiss Directorate
           of International Law (DIL), Japan or, without prejudice to the foregoing, any other relevant
           sanctions authority enacting, administering or imposing Sanctions applicable by law to any
           Finance Party or an Obligor.

           "Sanctions List" means any list of specially designated nationals and blocked persons or
           designated persons or vessels, the Sectoral Sanctions Identification List or the List of
           Foreign Sanctions Evaders (or equivalent) or any similar list maintained by a Sanctions
           Authority as a measure of imposing, administering, enacting or enforcing Sanctions, in
           each case as amended, supplemented or substituted from time to time.

           "Sectoral Sanctions Identification List" means a list identifying certain countries and/or
           certain persons operating in certain sectors of activity which are the subject of Sanctions
           (e.g. the sectoral sanctions identifications list published by the Office of Foreign Assets
           Control of the U.S. Department of the Treasury).

           "Seller’s Credit" means five million, five hundred and thirty five thousand US Dollars
           (US$ 5,535,000) advanced by the Sellers to the Buyers as deferred payment of part of the
           purchase price of the Vessel pursuant to this Agreement and/or the principal amount
           thereof outstanding from time to time following any set-off pursuant to the Seller's Credit
           Agreement.

           "Seller’s Credit Agreement" means the seller's credit agreement dated on or around the
           date of this Agreement entered into between the Buyers and the Sellers pursuant to which
           the Sellers agreed to advance the Seller's Credit to the Buyers.

           "Senior Finance Party" means a party defined as "Finance Party" under the Senior Loan
           Agreement from time to time and "Senior Finance Parties" means together all parties
           defined as "Finance Parties" under the Senior Loan Agreement from time to time.

           "Senior Lender" means a party defined as "Lender" under the Senior Loan Agreement
           from time to time and "Senior Lenders" means together all parties defined as "Lenders"
           under the Senior Loan Agreement from time to time.

           "Senior Loan" means a term loan facility in the total amount of up to one hundred and
           ninety million US Dollars (US$190,000,000) to be made available by the Senior Lenders
           to, among others, the Buyers under the Senior Loan Agreement to, among other things,
           assist the Buyers in financing the Purchase Price.

           "Senior Loan Agreement" means an agreement dated on or around the date of this
           Agreement entered into between, among others, the Buyers and the Senior Finance Parties
           pursuant to which the Senior Loan will be made available to, among others, the Buyers (as
           such agreement may be amended, restated, supplemented or varied from time to time).

           "Surplus Cash" means the amount by which the Purchase Price exceeds the Redemption
           Amount, and if the Redemption Amount exceeds the Purchase Price the Surplus Cash shall

   LONLIVE\35125192.2                                                                            Page 4
Case 1:20-cv-00293-MAC-ZJH            Document 44-2         Filed 08/14/20       Page 15 of 16 PageID
                                            #: 1188


          be deemed zero.
           "Trading Limits" means worldwide trading always within Institute Navigation Limits;
           always via safe/always afloat ice fee port(s)fterth(s) excluding Cuba (unless the United
           States of America sanctions are lifted), Iran, North Korea, war/war risked countries and
           countries which result in blacklisting/sanctions by the United Nations, the United States of
           America, the United Kingdom or the European Union or its member states.

   22.2   Unless otherwise specified in this Agreement, or unless the context otherwise requires, all
          words and expressions defined or explained in the Bareboat Charter shall have the same
          meanings when used in this Agreement.




   LONLIVE\35125192.2                                                                            PageS
Case 1:20-cv-00293-MAC-ZJH           Document 44-2           Filed 08/14/20     Page 16 of 16 PageID
                                           #: 1189


            In witness of which the parties to this Agreement have executed this Agreement the day
                                          and year first before written.

  THE SELLERS                                          THE BUYERS
  ADVANTAGE SPRING SHIPPING LLC                        FLEETSCAPE SPRING, LLC
  by:                                                  by:




                                                       Name:                  ■‫؛‬۶
  Name:ló١\/(xnc          nana/i
  Title:                                               Title:
   Date:                                               Date:            Jennifer Ashford
                                                                        Attorney in fact




   LONLIVE\35125192.2                                                                        Page 6
